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      Case 3:l-8-cv-00683-VLB Document L4L-8 Filed 1-0/0L/1-9     Page L of 2
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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT


NICOLE CHASE                                         NO.: 3:l 8-cv-00683 (VLB)

V

NODINE'S SMOKEHOUSE, INC., CALVIN
NODINE, TOWN OF CANTON, JOHN
COLANGELO, ADAM GOMPPER, MARK J.
PENNEY AND CHRISTOPHER ARCIERO                       ocToBER 1,2019
                           NOTICE OF MANUAL FILING

      Please take notice that the undersigned defendants, TOWN OF CANTON,

JOHN COLANGELO and ADAM GOMPPER ("defendatrb"), have manually filed

the following items with the United States District Gourt for the District of

Connecticut, because it cannot be uploaded onto the Gourt's e-filing system for

filing with the Court:

      Exhibits E, N and O to the defendants' Motion for Summary Judgment,
      dated October 1,2019 - Thumb Drive containing Audio Files of Nicole
      Ghase (Front Lobby Videotape and June 21,2017 interview), and the audio
      interuiew of Calvin Nodine, May 18, 2017.

      The audio interviews have been previously produced upon all parties.




                                                                       EXHIBIT            E
   Case 3:18-cv-00683-VLB Document 142 Filed 10/04/19 Page 2 of 6

     Case 3:1-8-cv-00683-VLB Document      L4L-8 Filed 1-0/0L/l-9 Page 2 of 2




                                          DEFENDANTS,
                                          TOWN OF CANTON, JOHN
                                          COLANGELO AND ADAM GOMPPER



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                                   CERTIFICATION

       This is to certify that on OCTOBER 1,20'19, a copy of the foregoing
NOTICE OF MANUAL FILING was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court's electronic filing system or by mail
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System.

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                                          /s/ Kristan M. Maccini
                                          Kristan M. Maccini



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                                                                         EXHIBIT      E
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     Case 3:l-8-cv-00683-VLB Document     t4t-L7   Filed L0/01-/L9 Page L of 2



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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT


NICOLE CHASE                                         NO.: 3:l 8-cv-00683 (VLB)

v

NODINE'S SMOKEHOUSE, INC., CALVIN
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                                                                       EXHIBIT N
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    Case 3:18-cv-00683-VLB Document       I4L-t7     Filed L0/01-/L9 Page 2 oÍ 2




                                          DEFENDANTS,
                                          TOWN OF CANTON, JOHN
                                          COLANGELO AND ADAM GOMPPER



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                                                                         EXHIBIT N
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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT


NICOLE CHASE                                         NO.: 3:l 8-cv-00683 (VLB)

v

NODTNE'S SMOKEHOUSE, tNC., CALVTN
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                                                                       EXHIBIT O
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    Case 3:18-cv-00683-VLB Document       L L-LB     Filed l-0/01-/1-9 Page 2 o12




                                          DEFENDANTS,
                                          TOWN OF CANTON, JOHN
                                          COLANGELO AND ADAM GOMPPER



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                                          /s/ Kristan M. Maccini
                                          Kristan M. Maccini



                                          2


                                                                         EXHIBIT      O
